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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                               )
In re:                                                         ) Chapter 11
                                                               )
Z GALLERIE, LLC, et al., 1                                     ) Case No. 19-10488 (LSS)
                                                               )
                                        Debtors.               ) (Jointly Administered)
                                                               )

               NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING
               ON APRIL 10, 2019 AT 10:00 A.M. (PREVAILING EASTERN TIME) 2

UNCONTESTED MATTERS WITH CERTIFICATION OF COUNSEL:

1.        Debtors’ Application for Entry of an Order Authorizing the Retention and Employment
          Klehr Harrison Harvey Branzburg LLP as Co-Counsel for the Debtors and Debtors in
          Possession Effective Nunc Pro Tunc to the Petition Date [Docket No. 88; Filed
          3/20/2019]

                    Related Documents:

                              A.        Supplemental Declaration of Domenic E. Pacitti in Support of the
                                        Debtors’ Application for Entry of an Order Authorizing the
                                        Retention and Employment of Klehr Harrison Harvey Branzburg
                                        LLP as Co-Counsel for the Debtors and Debtors in Possession
                                        Effective Nunc Pro Tunc to the Petition Date [Docket No. 117;
                                        Filed 3/26/2019]

                              B.        Certificate of Counsel [Docket No. 142; Filed 4/5/2019]

                              C.        Proposed Order

                    Response Deadline:            April 3, 2019 at 4:00 p.m. 3

                    Responses Received: None

                    Status:             A Certification of Counsel has been filed on this matter. This
                                        matter is going forward unless otherwise directed by the Court.

1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are
     Z Gallerie, LLC (3816) and Z Gallerie Holding Company, LLC (5949). The location of the Debtors’ service address is:
     1855 West 139th Street, Gardena, CA 90249.
2
     Any party who wishes to attend telephonically is required to make arrangements through CourtCall by telephone (866-582-
     6878) or by facsimile (866-533-2946).
3
     Unless otherwise specified, all times used herein are prevailing Eastern Time.




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UNCONTESTED MATTERS GOING FORWARD:

2.      Debtors’ Motion Seeking Entry of an Order (I) Extending Time to File Schedules of
        Assets and Liabilities, Schedules of Current Income and Expenditures, Schedules of
        Executory Contracts and Unexpired Leases, and Statements of Financial Affairs and
        (II) Granting Related Relief [Docket No. 5; Filed 3/11/2019]

                   Related Documents:

                             A.   Omnibus Notice of Second Day Hearing to be Held on April 10,
                                  2019 at 10:00 a.m. [Docket No. 79; Filed 3/15/2019]

                   Response Deadline:    April 3, 2019 at 4:00 p.m.

                   Responses Received: None

                   Status:        This matter is going forward. The Debtors anticipate filing a
                                  Certification of Counsel prior to the hearing with an agreed order.

3.      Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the Debtors
        to (A) Continue to Operate Their Cash Management System, (B) Honor Certain
        Prepetition Obligations Related Thereto, and (C) Maintain Existing Business Forms, and
        (II) Granting Related Relief [Docket No. 7; Filed 3/11/2019]

                   Related Documents:

                             A.   Interim Order (I) Authorizing the Debtors to (A) Continue to
                                  Operate Their Cash Management System, (B) Honor Certain
                                  Prepetition Obligations Related Thereto, (C) Maintain Existing
                                  Business Forms and (II) Granting Related Relief [Docket No. 53;
                                  Filed 3/12/2019]

                             B.   Omnibus Notice of Second Day Hearing to be Held on April 10,
                                  2019 at 10:00 a.m. [Docket No. 79; Filed 3/15/2019]

                   Response Deadline:    April 3, 2019 at 4:00 p.m.

                   Responses Received: None

                   Status:        This matter is going forward. The Debtors anticipate filing a
                                  Certification of Counsel prior to the hearing with an agreed order.




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4.      Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the Debtors
        to Maintain and Administer Their Existing Customer Programs and Honor Certain
        Prepetition Obligations Related Thereto and (II) Granting Related Relief [Docket No. 8;
        Filed 3/11/2019]

                   Related Documents:

                             A.   Interim Order (I) Authorizing the Debtors to Maintain and
                                  Administer Their Existing Customer Programs and Honor Certain
                                  Prepetition Obligations Related Thereto, and (II) Granting Related
                                  Relief [Docket No. 57; Filed 3/12/2019]

                             B.   Omnibus Notice of Second Day Hearing to be Held on April 10,
                                  2019 at 10:00 a.m. [Docket No. 79; Filed 3/15/2019]

                   Response Deadline:    April 3, 2019 at 4:00 p.m.

                   Responses Received: None

                   Status:        This matter is going forward. The Debtors anticipate filing a
                                  Certification of Counsel prior to the hearing with an agreed order.

5.      Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Determining Adequate
        Assurance of Payment for Future Utility Services, (II) Prohibiting Utility Providers From
        Altering, Refusing, or Discontinuing Utility Services, (III) Establishing Procedures for
        Determining Adequate Assurance of Payment, (IV) Authorizing Fee Payments to Engie
        for Services Performed, (V) Requiring Utility Providers to Return Deposits for Utility
        Services No Longer in Use, and (VI) Granting Related Relief [Docket No. 9; Filed
        3/11/2019]

                   Related Documents:

                             A.   Interim Order (I) Determining Adequate Assurance of Payment for
                                  Future Utility Services, (II) Prohibiting Utility Providers From
                                  Altering, Refusing, or Discontinuing Utility Services, (III)
                                  Establishing Procedures for Determining Adequate Assurance of
                                  Payment, (IV) Authorizing Fee Payments to Engie for Services
                                  Performed, (V) Requiring Utility Providers to Return Deposits for
                                  Utility Services No Longer in Use, and (VI) Granting Related
                                  Relief [Docket No. 54; Filed 3/12/2019]

                             B.   Omnibus Notice of Second Day Hearing to be Held on April 10,
                                  2019 at 10:00 a.m. [Docket No. 79; Filed 3/15/2019]

                   Response Deadline:    April 3, 2019 at 4:00 p.m.



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                   Responses Received: None

                   Status:        This matter is going forward. The Debtors anticipate filing a
                                  Certification of Counsel prior to the hearing with an agreed order.

6.      Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the Payment
        of Certain Prepetition Taxes and Fees and (II) Granting Related Relief [Docket No. 10;
        Filed 3/11/2019]

                   Related Documents:

                             A.   Interim Order (I) Authorizing the Payment of Certain Prepetition
                                  Taxes and Fees, and (II) Granting Related Relief [Docket No. 55;
                                  Filed 3/12/2019]

                             B.   Omnibus Notice of Second Day Hearing to be Held on April 10,
                                  2019 at 10:00 a.m. [Docket No. 79; Filed 3/15/2019]

                   Response Deadline:    April 3, 2019 at 4:00 p.m.

                   Responses Received: None

                   Status:        This matter is going forward. The Debtors anticipate filing a
                                  Certification of Counsel prior to the hearing with an agreed order.

7.      Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing (A) Debtors to Pay
        Certain Prepetition Claims of Trade Claimants and Other Vendors, and (B) Procedures
        Related Thereto, (II) Granting Administrative Priority for Outstanding Orders, and (III)
        Granting Related Relief [Docket No. 11; Filed 3/11/2019]

                   Related Documents:

                             A.   Interim Order (I) Authorizing (A) Debtors to Pay Certain
                                  Prepetition Claims of Trade Claimants and (B) Procedures Related
                                  Thereto, (II) Granting Administrative Priority for Outstanding
                                  Orders, and (III) Granting Related Relief [Docket No. 56; Filed
                                  3/12/2019]

                             B.   Omnibus Notice of Second Day Hearing to be Held on April 10,
                                  2019 at 10:00 a.m. [Docket No. 79; Filed 3/15/2019]

                   Response Deadline:    April 3, 2019 at 4:00 p.m.

                   Responses Received: None




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                   Status:        This matter is going forward. The Debtors anticipate filing a
                                  Certification of Counsel prior to the hearing with an agreed order.

8.      Debtors’ Motion Seeking Entry of an Order (I) Authorizing the Debtors to (A) Pay Their
        Obligations Under Insurance Policies Entered into Prepetition, (B) Continue to Pay
        Brokerage Fees, and (C) Renew, Supplement, Modify, or Purchase Insurance Coverage,
        and (II) Granting Related Relief [Docket No. 12; Filed 3/11/2019]

                   Related Documents:

                             A.   Interim Order (I) Authorizing the Debtors to (A) Pay Their
                                  Obligations Under Insurance Policies Entered Into Prepetition, (B)
                                  Continue to Pay Brokerage Fees, and (C) Renew, Supplement,
                                  Modify, or Purchase Insurance Coverage, and (II) Granting
                                  Related Relief [Docket No. 58; Filed 3/12/2019]

                             B.   Omnibus Notice of Second Day Hearing to be Held on April 10,
                                  2019 at 10:00 a.m. [Docket No. 79; Filed 3/15/2019]

                   Response Deadline:    April 3, 2019 at 4:00 p.m.

                   Responses Received: None

                   Status:        This matter is going forward. The Debtors anticipate filing a
                                  Certification of Counsel prior to the hearing with an agreed order.

9.      Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing, but Not
        Directing, the Debtors to (A) Pay Prepetition Employee Wages, Salaries, Other
        Compensation, Reimbursable Employee Expenses, and Non-Insider Employee Incentive
        Programs, and (B) Continue Employee Benefits Programs and (II) Granting Related
        Relief [Docket No. 14; Filed 3/11/2019]

                   Related Documents:

                             A.   Interim Order (I) Authorizing, But Not Directing, the Debtors to
                                  (A) Pay Prepetition Employee Wages, Salaries, Other
                                  Compensation, and Reimbursable Employee Expenses and (B)
                                  Continue Employee Benefits Programs and (II) Granting Related
                                  Relief [Docket No. 59; Filed 3/12/2019]

                             B.   Omnibus Notice of Second Day Hearing to be Held on April 10,
                                  2019 at 10:00 a.m. [Docket No. 79; Filed 3/15/2019]

                   Response Deadline:    April 3, 2019 at 4:00 p.m.

                   Responses Received: None



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                   Status:        This matter is going forward. The Debtors anticipate filing a
                                  Certification of Counsel prior to the hearing with an agreed order.

10.     Debtors’ Motion Seeking Entry of an Order (I) Approving the Bidding Procedures, (II)
        Scheduling the Bid Deadlines and the Auction, (III) Approving the Form and Manner of
        Notice Thereof, and (IV) Granting Related Relief [Docket No. 22; Filed 3/11/2019]

                   Related Documents:

                             A.   Omnibus Notice of Second Day Hearing to be Held on April 10,
                                  2019 at 10:00 a.m. [Docket No. 79; Filed 3/15/2019]

                   Response Deadline:    April 3, 2019 at 4:00 p.m.; extended solely for the United
                                         States Trustee, the Official Committee of Unsecured
                                         Creditors, KeyBank National Association, KKR Credit
                                         Advisors (US) LLC, and Brookfield Property REIT Inc.
                                         until April 5, 2019 at 4:00 p.m.

                   Responses Received: None

                   Status:        This matter is going forward. The Debtors anticipate filing a
                                  Certification of Counsel prior to the hearing with an agreed order.

11.     Debtors’ Application for an Order Authorizing (I) the Debtors to Retain A&G Partners,
        LLC as a Real Estate Consultant and Advisor Nunc Pro Tunc to the Petition Date and (II)
        a Waiver of Certain Reporting Requirements Pursuant to Local Rule 2016-2(h) [Docket
        No. 89; Filed 3/20/2019]

                   Response Deadline:    April 3, 2019 at 4:00 p.m.

                   Responses Received: None

                   Status:        This matter is going forward. The Debtors anticipate filing a
                                  Certification of Counsel prior to the hearing with an agreed order.

12.     Debtors’ Application for Entry of an Order Authorizing the (I) Retention of Berkeley
        Research Group, LLC and (II) Designation of Mark Weinsten as Interim Chief Executive
        Officer, Nunc Pro Tunc to the Petition Date and (III) Granting Related Relief [Docket
        No. 90; Filed 3/20/2019]

                   Response Deadline:    April 3, 2019 at 4:00 p.m.

                   Responses Received: None

                   Status:        This matter is going forward. The Debtors anticipate filing a
                                  Certification of Counsel prior to the hearing with an agreed order.



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13.     Debtors’ Application for Appointment of Stretto as Administrative Advisor Nunc Pro
        Tunc to the Petition Date [Docket No. 91; Filed 3/20/2019]

                   Response Deadline:   April 3, 2019 at 4:00 p.m.

                   Responses Received: None

                   Status:      This matter is going forward. The Debtors anticipate filing a
                                Certification of Counsel prior to the hearing with an agreed order.

14.     Debtors’ Application for Entry of an Order (I) Authorizing the Employment and
        Retention of Lazard Frères & Co. LLC and Lazard Middle Market LLC as Investment
        Banker to the Debtors and Debtors in Possession, Effective Nunc Pro Tunc To the
        Petition Date, (II) Approving the Terms of the Lazard Agreement, (III) Waiving Certain
        Time-Keeping Requirements Pursuant to Local Rule 2016-2(H), and (IV) Granting
        Related Relief [Docket No. 92; Filed 3/20/2019]

                   Response Deadline:   April 3, 2019 at 4:00 p.m.

                   Responses Received: None

                   Status:      This matter is going forward. The Debtors anticipate filing a
                                Certification of Counsel prior to the hearing with an agreed order.

15.     Debtors’ Application for Entry of an Order Authorizing the Retention and Employment
        of Kirkland & Ellis LLP and Kirkland & Ellis International LLP as Attorneys for the
        Debtors and Debtors in Possession Effective Nunc Pro Tunc to the Petition Date [Docket
        No. 93; Filed 3/20/2019]

                   Response Deadline:   April 3, 2019 at 4:00 p.m.

                   Responses Received: None

                   Status:      This matter is going forward. The Debtors anticipate filing a
                                Certification of Counsel prior to the hearing with an agreed order.

16.     Debtors’ Motion for Entry of an Order Authorizing the Debtors to Retain and
        Compensate Professionals Utilized in the Ordinary Course of Business [Docket No. 120;
        Filed 3/27/2019]

                   Response Deadline:   April 3, 2019 at 4:00 p.m.

                   Responses Received: None




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                   Status:        This matter is going forward. The Debtors anticipate filing a
                                  Certification of Counsel prior to the hearing with an agreed order.

17.     Debtors’ Motion Seeking Entry of an Order (I) Setting Bar Dates for Filing Proofs of
        Claim, Including Requests for Payment Under Section 503(B)(9), (II) Establishing
        Amended Schedules Bar Date and Rejection Damages Bar Date, (III) Approving the
        Form of and Manner for Filing Proofs of Claim, Including Section 503(B)(9) Requests,
        and (IV) Approving Form and Manner of Notice Thereof [Docket No. 121; Filed
        3/27/2019]

                   Response Deadline:    April 3, 2019 at 4:00 p.m. m.; extended solely for Brookfield
                                         Property REIT Inc. until April 5, 2019 at 4:00 p.m.

                   Responses Received: None

                   Status:        This matter is going forward. The Debtors anticipate filing a
                                  Certification of Counsel prior to the hearing with an agreed order.

18.     Debtors’ Motion for Entry of an Order Establishing Procedures for Interim Compensation
        and Reimbursement of Expenses for Retained Professionals [Docket No. 122; Filed
        3/27/2019]

                   Response Deadline:    April 3, 2019 at 4:00 p.m.

                   Responses Received: None

                   Status:        This matter is going forward. The Debtors anticipate filing a
                                  Certification of Counsel prior to the hearing with an agreed order.

CONTESTED MATTERS:

19.     Debtors’ Motion Seeking Entry of an Order (I) Authorizing the Debtors to File a
        Consolidated List of Creditors in Lieu of Submitting a Separate Mailing Matrix for Each
        Debtor, (II) Authorizing the Debtors to Redact Certain Personal Identification
        Information for Individual Creditors, and (III) Granting Related Relief [Docket No. 4]

                   Related Documents:

                             A.   Omnibus Notice of Second Day Hearing to Be Held on April 10,
                                  2019 at 10:00 a.m. [Docket No. 79; Filed 3/15/2019]

                             B.   Certification of Counsel Regarding Creditor Matrix Motion [Filed
                                  3/18/2019] (Docket No. 82)

                   Response Deadline:    April 3, 2019 at 4:00 p.m.




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                   Responses Received:

                             A.   The United States Trustee’s Objection to the Debtors’ Motion
                                  Seeking Entry of an Order (I) Authorizing the Debtors to File a
                                  Consolidated List of Creditors in Lieu of Submitting a Separate
                                  Mailing Matrix for Each Debtor, (II) Authorizing the Debtors to
                                  Redact Certain Personal Identification Information for Individual
                                  Creditors, and (III) Granting Related Relief [Docket No. 128; Filed
                                  4/1/2019]

                   Status:        This matter is going forward. The Debtors have resolved the
                                  objection of the Office of the United States Trustee. The Debtors
                                  will file a Certification of Counsel prior to the hearing with an
                                  agreed order reflecting the resolution.

20.     Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing Debtors to
        Reject Certain Unexpired Leases of Nonresidential Real Property, (II) Approving
        Procedures for Store Closing Sales, (III) Authorizing Customary Bonuses to Employees
        of Closing Stores, and (IV) Granting Related Relief [Docket No. 13; Filed 3/11/2019]

                   Related Documents:

                             A.   Interim Order (I) Approving Procedures For Store Closing Sales,
                                  (II) Authorizing Customary Bonuses to Employees of Closing
                                  Stores, and (III) Granting Related Relief [Docket No. 74; Filed
                                  3/15/2019]

                             B.   Omnibus Notice of Second Day Hearing to be Held on April 10,
                                  2019 at 10:00 a.m. [Docket No. 79; Filed 3/15/2019]

                   Response Deadline:    April 3, 2019 at 4:00 p.m.; extended solely for Brookfield
                                         Property REIT Inc. and 1515 N. Halstead, LLC until April
                                         5, 2019 at 4:00 p.m.

                   Responses Received:

                             A.   Local Texas Tax Authorities’ Objection to Debtors’ Motion
                                  Seeking Interim and Final Orders (I) Authorizing Debtors to Reject
                                  Certain Unexpired Leases of Nonresidential Real Property, (II)
                                  Approving Procedures For Store Closing Sales, and (IV) Granting
                                  Related Relief [Docket No. 138; Filed 4/3/2019]

                   Status:        This matter is going forward. The Debtors anticipate filing a
                                  Certification of Counsel prior to the hearing with an agreed order.




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21.     Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the Debtors
        to Obtain Postpetition Financing, (II) Authorizing the Debtors to Use Cash Collateral,
        (III) Granting Liens and Providing Superpriority Administrative Expense Status,
        (IV) Granting Adequate Protection to the Prepetition Lenders, (V) Modifying Automatic
        Stay, (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief [Docket No. 26;
        Filed 3/11/2019]

                   Related Documents:

                             A.   Interim Order Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, and
                                  364 and Rules 2002, 4001, and 9014 of the Federal Rules of
                                  Bankruptcy Procedure (I) Authorizing Incurrence by the Debtors
                                  of Postpetition Senior Secured Indebtedness, (II) Authorizing Use
                                  of Cash Collateral by the Debtors, (III) Granting Adequate
                                  Protection to Prepetition Secured Parties, (IV) Modifying the
                                  Automatic Stay, and (V) Scheduling A Final Hearing [Docket No.
                                  75; Filed 3/15/2019]

                             B.   Omnibus Notice of Second Day Hearing to Be Held on April 10,
                                  2019 at 10:00 a.m. [Docket No. 79; Filed 3/15/2019]

                   Response Deadline:    April 3, 2019 at 4:00 p.m.; extended solely for the United
                                         States Trustee, the Official Committee of Unsecured
                                         Creditors, KKR Credit Advisors (US) LLC, and Brookfield
                                         Property REIT Inc. until April 8, 2019 at 4:00 p.m.

                   Responses Received:

                             A.   Comenity Bank’s Limited Objection and Reservation of Rights
                                  with Respect to Debtor’s Motion Seeking Entry of Interim and
                                  Final Orders (I) Authorizing the Debtors to Obtain Postpetition
                                  Financing, (II) Authorizing the Debtors to Use Cash Collateral,
                                  (III) Granting Liens and Providing Superpriority Administrative
                                  Expense Status, (IV) Granting Adequate Protection to the
                                  Prepetition Lenders, (V) Modifying Automatic Stay, (VI)
                                  Scheduling Final Hearing, and (VII) Granting Related Relief
                                  [Docket No. 136; Filed 4/3/2019]

                   Status:        This matter is going forward. The Debtors anticipate filing a
                                  Certification of Counsel prior to the hearing with an agreed order.




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22.     Debtors’ Motion Seeking Entry of an Order (I) Authorizing and Approving Procedures to
        Reject or Assume Executory Contracts and Unexpired Leases, (II) Authorizing and
        Approving Procedures to Provide Notice of Additional Closing Stores, If Required, and
        Procedures Related Thereto, and (III) Granting Related Relief [Docket No. 123; Filed
        3/27/2019]

                   Response Deadline:       April 3, 2019 at 4:00 p.m.; extended solely for Brookfield
                                            Property REIT Inc. until April 8, 2019 at 4:00 p.m.

                   Responses Received:

                             A.      Comenity Bank’s Limited Objection and Reservation of Rights
                                     with Respect to Debtor’s Motion Seeking Entry of an Order (I)
                                     Authorizing and Approving Procedures to Reject or Assume
                                     Executory Contracts and Unexpired Leases, (II) Authorizing and
                                     Approving Procedures to Provide Notice of Additional Closing
                                     Stores, If Required, and Procedures Related Thereto, and (III)
                                     Granting Related Relief [Docket No. 137; Filed 4/3/2019]

                   Status:           This matter is going forward. The Debtors anticipate filing a
                                     Certification of Counsel prior to the hearing with an agreed order.



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Dated: April 8, 2019                   /s/ Domenic E. Pacitti
Wilmington, Delaware                  Domenic E. Pacitti (DE Bar No. 3989)
                                      Michael W. Yurkewicz (DE Bar No. 4165)
                                      KLEHR HARRISON HARVEY BRANZBURG LLP
                                      919 N. Market Street, Suite 1000
                                      Wilmington, Delaware 19801
                                      Telephone:    (302) 426-1189
                                      Facsimile:    (302) 426-9193
                                      -and-
                                      Joshua A. Sussberg, P.C. (admitted pro hac vice)
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                                      -and-
                                      Justin R. Bernbrock (admitted pro hac vice)
                                      KIRKLAND & ELLIS LLP
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                                      Chicago, Illinois 60654
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                                      Proposed Co-Counsel for the Debtors and Debtors in
                                      Possession




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